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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 PEOPLE OF THE STATE OF NEW YORK, by LETITIA          ) Case No. 1:21-Civ.-57-SHS
 JAMES, Attorney General of the State of New York,    )
                                                      )
 PEOPLE OF THE STATE OF CALIFORNIA, by                )
 XAVIER BECERRA, Attorney General of the State of     )
 California,                                          )
                                                      )
 PEOPLE OF THE STATE OF COLORADO, by PHILIP J. ) DECLARATION OF
 WEISER, Attorney General of the State of Colorado,   ) SERVICE
                                                      )
 THE DISTRICT OF COLUMBIA, by KARL A. RACINE, )
 Attorney General of the District of Columbia,        )
                                                      )
 COMMONWEALTH OF MASSACHUSETTS, by                    )
 MAURA HEALEY, Attorney General of Massachusetts,     )
                                                      )
 THE STATE OF MINNESOTA, by KEITH ELLISON,            )
 Attorney General of the State of Minnesota,          )
                                                      )
 THE STATE OF NEW JERSEY, by GURBIR S.                )
 GREWAL, Attorney General of the State of New Jersey, )
                                                      )
 THE STATE OF NORTH CAROLINA ex rel. JOSHUA H. )
 STEIN, Attorney General of North Carolina,           )
                                                      )
                               Plaintiffs,            )
                                                      )
                – against –                           )
                                                      )
 THE OFFICE OF THE COMPTROLLER OF THE                 )
 CURRENCY and BRIAN P. BROOKS, in his official        )
 capacity as Acting Comptroller of the Currency,      )
                                                      )
                               Defendants.            )
                                                      )


       I, Christopher L. McCall, hereby declare that, in accordance with Federal Rule of Civil

Procedure 4(i), on January 11, 2021, I served a copy of the Complaint and Summonses in this

action by United States Postal Service certified mail, return receipt requested, upon the following

individuals and entities:
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               The Office of the Comptroller of the Currency
               400 7th Street SW
               Washington, D.C. 20219

               Brian P. Brooks
               Acting Comptroller
               The Office of the Comptroller of the Currency
               400 7th Street SW
               Washington, D.C. 20219

               Jeffrey A. Rosen
               Acting Attorney General
               U.S. Department of Justice
               950 Pennsylvania Avenue NW
               Washington, D.C. 20530

               Civil-Process Clerk
               United States Attorney’s Office
               Southern District of New York
               1 St. Andrew’s Plaza
               New York, New York 10007

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

 Dated: New York, New York
        January 11, 2021

                                       By:__/s/ Christopher L. McCall___________________
                                       Christopher L. McCall, Assistant Attorney General
                                       Office of the New York Attorney General
                                       Bureau of Consumer Frauds and Protection
                                       28 Liberty Street, 20th Floor
                                       New York, New York 10005
                                       Telephone: (212) 416-8303
                                       Email: christopher.mccall@ag.ny.gov




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